         Case 1:21-cv-02908-APM Document 1-4 Filed 11/04/21 Page 1 of 2




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11/04/2021               /s/ Tara Reinhart
         Case 1:21-cv-02908-APM Document 1-4 Filed 11/04/21 Page 2 of 2




     SUPPLEMENT TO NOTICE OF DESIGNATION OF RELATED CIVIL CASES

        This case is related to Asinor v. District of Columbia, No. 21-cv-2158-APM, because the
two cases involve common issues of fact. The major factual issue in this case is whether, as alleged
in the complaint, the District of Columbia has a “custom of retaining cell phones seized from
arrestees, where officers have no basis to believe the cell phones constitute physical evidence of a
crime or contain contraband, for longer than is reasonably necessary for any legitimate law
enforcement purpose.” Complaint ¶ 51. That is also a major factual issue in the Asinor case. See
Amended Complaint ¶¶ 2, 67-88, 124-128 (ECF No.10).
